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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


 CALEB BARNETT, et al.,                            )   Case No. 3:23-cv-209-SPM
                 Plaintiffs,                       )   **designated Lead Case
                                                   )
               v.                                  )
                                                   )
 KWAME RAOUL, et al.,                              )
                 Defendants,                       )
                                                   )
 DANE HARREL, et al.,                              )   Case No. 3:23-cv-141-SPM
                  Plaintiffs,                      )
                                                   )
               v.                                  )
                                                   )
 KWAME RAOUL, et al.,                              )
                 Defendants,                       )
                                                   )
 JEREMY W. LANGLEY, et al.,                        )   Case No. 3:23-cv-192-SPM
                Plaintiffs,                        )
                                                   )
               v.                                  )
                                                   )
 BRENDAN KELLY, et al.,                            )
                 Defendants,                       )
                                                   )
 FEDERAL FIREARMS LICENSEES OF                     )   Case No. 3:23-cv-215-SPM
 ILLINOIS, et al.,                                 )
                   Plaintiffs,                     )
                                                   )
               v.
                                                   )
 JAY ROBERT “J.B.” PRITZKER, et al.,               )
                  Defendants.                      )
                                                   )



                PLAINTIFFS’ SUBMISSION OF WRITTEN TESTIMONY
       Plaintiffs Dane Harrel, C4 Gun Store, LLC, Marengo Guns, Inc., Illinois State Rifle

Association, Firearms Policy Coalition, Inc., and Second Amendment Foundation (“Harrel
plaintiffs”); Jeremy W. Langley, Timothy B. Jones, and Matthew Wilson (“Langley plaintiffs”);


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Caleb Barnett, Brian Norman, Hood’s Guns & More, Pro Gun and Indoor Range, and National

Shooting Sports Foundation, Inc. (“Barnett plaintiffs”); and Federal Firearms Licensees of

Illinois, Guns Save Life, Gun Owners of America, Gun Owners Foundation, Piasa Armory,

Jasmine Young, and Chris Moore (“FFL plaintiffs”) (together, “Plaintiffs”), by undersigned

counsel, and pursuant to the Court’s directive at the Pre-Trial Conference of September 9, 2024,

submit the following: Transcripts (including errata sheets) of depositions with corresponding

exhibits of witnesses who were deposed in the above-captioned matter; and declarations from all

of the Plaintiffs’ expert witnesses who submitted reports in this matter.

       The following transcripts with errata sheets, if any, and corresponding exhibits are

included:

       1.       Deposition Transcript of Scott Pulaski

       2.       Deposition Transcript of Paul Leitner-Wise

       3.       Deposition Transcript of Jeffrey Eby

       4.       Deposition Transcript of James Ronkainen

       5.       Deposition Transcript of Steven R. Watt

       6.       Deposition Transcript of Salam Fatohi

       7.       Deposition Transcript of Jim Curcuruto


       The following declarations from Plaintiffs’ experts who submitted reports in this matter

are included:

       8.       Declaration of Stephen Helsley

       9.       Declaration of Michael Musselman

       10.      Declaration of J. Buford Boone

       11.      Declaration of Paul Leitner-Wise

       12.      Declaration of Jeffrey Eby

       13.      Declaration of Matthew Little
       14.      Declaration of James Ronkainen

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       15.    Declaration of David Lombardo

       16.    Declaration of Steven R. Watt

Dated: September 13, 2024                         Respectfully submitted,


                                                  s/ C.D. Michel
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                                                  Foundation, Piasa Armory, Jasmine Young,
                                                  and Chris Moore




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                                          Coalition, Inc., and Second Amendment
                                          Foundation




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2024, an electronic PDF of PLAINTIFFS’

SUBMISSION OF WRITTEN TESTIMONY was electronically filed with the Clerk of the

District Court using its ECF System, which electronically notifies all counsel of record.

       I declare under penalty of perjury that the foregoing is true and correct.



Dated: September 13, 2024                              s/ Laura Palmerin
                                                       Laura Palmerin
